Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 1 of 16 PageID #: 174




                        EXHIBIT 10
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 2 of 16 PageID #: 175

                                                                                                              USOO7085364B1


 (12) United States Patent                                                                     (10) Patent No.:     US 7,085,364 B1
        Ahmed et al.                                                                           (45) Date of Patent:      Aug. 1, 2006
 (54)    ADVANCED CONFERENCE DROP                                                          Primary Examiner Wing Chan
                                                                                           Assistant Examiner Thjuan P. Knowlin
 (75) Inventors: Mushtaq Ahmed, Salem, NH (US);                                            (74) Attorney, Agent, or Firm McGlew & Tuttle, PC
                 Kalpesh Salva, Woburn, MA (US);
                 Tarek Abou-Assali, Brighton, MA                                           (57)                      ABSTRACT
                 (US); Jasjit Singh, North Andover, MA
                 (US); Arun Narula, Andover, MA (US)                                       A network telephone system is provided with a distributed
 (73) Assignee: 3Com Corporation, Marlborough, MA                                          network, a network call processor, with the call processor
                 (US)                                                                      connected to the network. A telephone line network interface
                                                                                           is connected to a telephone line and is connected to the
 (*) Notice: Subject to any disclaimer, the term of this                                   network for receiving packets from the network and sending
                 patent is extended or adjusted under 35                                   packets to the network including packets with telephone
                 U.S.C. 154(b) by 683 days.                                                voice data. A plurality of network telephones are part of the
                                                                                           network telephone system with each network telephone
 (21) Appl. No.: 09/933,558                                                                connected to the network. Each network telephone has a
                                                                                           display for displaying information and each network tele
 (22)    Filed:        Aug. 20, 2001                                                       phone is capable of engaging in a concurrent telephonic
                                                                                           communication. Each network telephone has an I/O device
 (51)    Int. C.                                                                           in electrical communication with the network for receiving
         H04M 3/42               (2006.01)                                                 and sending packets to other devices connected to the
         H04L 12/16              (2006.01)                                                 network, an input device for producing audio signals from
 (52) U.S. Cl. .................................. 379/202.01; 370/267                      an input local to the device and a packet controller in
 (58) Field of Classification Search ................ 370/267,                             electrical communication with the I/O device and the input
                  370/419; 379/202.01: 709/204, 205: 715/739                               device. The packet controller generates packets from the
         See application file for complete search history.                                 audio signals received by the input device, forwards the
                                                                                           generated packets to the I/O device for transmission to the
 (56)                    References Cited                                                  network and combines packets received by the I/O device to
                   U.S. PATENT DOCUMENTS
                                                                                           produce an audio signal with the combined packets and the
                                                                                           audio signals from the local input device. Each network
        5.440,624 A * 8, 1995 Schoof, II .............. 379,202.01                         telephone displays information on the display corresponding
        5.996,003 A * 11/1999 Namikata et al. ........... 709/205                          to an identity of a source of packets combined whereby the
        6,262,979 B1* 7/2001 Anderson et al. ...                    -- - --     370,267
                                                                                           identity may be selected for dropping a source form a
        6,332,153 B1* 12/2001 Cohen ................                -- - --     TO9.204
                                                                                           concurrent telephonic communication.
        6,396,510 B1* 5, 2002 Pendse et al.       - - - - - - - - - - - - - -   71.5/739




 * cited by examiner                                                                                      20 Claims, 6 Drawing Sheets


                              NETWORK TELEPHONE SYSTEM CHASSIS                                            -12               S-10
                          :      POWER BUS                                                                                      -30
                                 A                 A                                       A              A -14             | PUBLIC
                               ETHERNET NETWORKBUS                                                                          | PHONE
                                              16                                                                            | NETWORK
                                         4.                                                                   / :
                              NETWORKCAL systEM
                              PROCESSOR (NCP) | NETWORK
                                                                                           PSA.
                                                                                           CARD
                                                                                                              H.:i
                                                CARD
                                                                                                           LINE 24
                                                                                                           CARD |
                               SYSTEM DATA                                                                             I
                               STORAGE                                   P- 32 28, C-2s
                                                                                                                           18
                                  t             NETWORK                                                          &                 CELL
                                                 42                              20                                   50

                                 GI                                             Riga k
                                                                                 NETWORK
                                                                                 DEVICE           PAGER
                                                                                                                                NZ N
                                                                                                                                     52
                                M                                                                           LOCAL                | --
                                  42                                                                        PAGER          MOBILE
                                                                                                    ZN           as LPHONE
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 3 of 16 PageID #: 176
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 4 of 16 PageID #: 177


 U.S. Patent         Aug. 1, 2006    Sheet 2 of 6                     US 7,085,364 B1




                                                              [HLOººIgWSrº

                                         DV/W   EDIAEO
                                                         Z9

                                                                             X|\,OWALEN
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 5 of 16 PageID #: 178
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 6 of 16 PageID #: 179


 U.S. Patent         Aug. 1, 2006    Sheet 4 of 6         US 7,085,364 B1
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 7 of 16 PageID #: 180


 U.S. Patent                 Aug. 1, 2006                           Sheet 5 of 6                              US 7,085,364 B1




                           500
                                                                                  502

                     Conference                                                         504
                     drop                        U1 & U2 in a point
                             -                   to-point call

                                          U2 presses conference                                                       524

                                      Enter ext. of party to conference                          Originator
                                                                                                 decides to either
                                                                                                 leave a message
           Hit                            Want to do a blind                                     and/or disconnect
            conference                    conference or screened?                  510           this call.
           button again
                                                                 -S
                                                                 screened         511

                                        All parties are still in                  Party does                          522
                                        conference while the                       Ot
                                        originator (person originating            aSWe
                                                                                                Call either goes to
                                        the conf. Call) is hearing ring                         the extensions
                                        back from the extension that                            Voice mail or some
                                        he/she is trying to conference                          sort of coverage
                                        lil...




                                                                  Party answers
                                                                                                                   555
                                          Originator hits
                                          "conference' button again                516
                                          and all parties join the
                                          conference call



                                                                                                          542
                                           U1, U2 and U3 arc?all in
                                          conference now


          Fig. 5A                 User attempts 'conference drop' after                        536
                                  scrolling through the LCD/list of conference
                                  cal members

                                                                   Contd. On Fig. 5B
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 8 of 16 PageID #: 181


 U.S. Patent             Aug. 1, 2006                 Sheet 6 of 6                       US 7,085,364 B1




                   From Fig. 5A                                       542           l
                                            538
                                                              NO                        540
              Does user have permission to drop
              this member? Query the connections                     Display NOT
              table and see if he/she has ownership                  ALLOWED on
              of the member they are trying to                       LCD of phone
              drop
                                                                                   555
                                      YES

                                                              544                        2
               Party is dropped and everyone
               hears a beep indicating that
               somebody has exited the
               conference call
                                                                                   548
                                                        546
                    Are number of                        NO           Call goes back
                    parties in the call                               to a point to
                    greater than 2?                                   point call/conf.
                                                                      call.
                                   YES
                                                550                                     552
                                                  YES                         A.
                     Are parties less                         Call ends and is torn down
                     than 2

                                    NO


               Conference call continues and                       F ig 5 B
               list of users in conference is
               updated by the NBX system
               software to reflect the most up
               to-date participants.                           554
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 9 of 16 PageID #: 182


                                                      US 7,085,364 B1
                                1.                                                              2
           ADVANCED CONFERENCE DROP                                  physical button with changeable (soft key) display for
                                                                     dropping any one of a telephone units from the conference
          BACKGROUND OF THE INVENTION                                call.
                                                                        A further object to provide the several packet based
    Telephone systems are known which provide a common 5 the         telephone units with the ability to drop any telephone unit in
                                                                          conference call where several of the units are connected
 interface between a plurality of users and a public telephone by one         or more networks to form a branch exchange
 network. Such a PBX system includes a central box with line            It is still another object of the invention to provide a
 cards providing connections to assigned lines of a public network             telephone system with telephone units that receive
 telephone network. The central box is connected by wires 10 information about conference call participants from a central
 such as twisted pair wires to individual telephone units. The call processor. The network advantageously includes net
 connection from the central box to the telephone units may work telephone units as well as other network devices (such
 be by way of analogue or digital signals. More recently, as computers).
 digital signals are sent by the central unit to the phone units.       According to the invention, a conference call telephone
 The digital signals include voice data as well as control and 15 system is provided with one or more networks. Three or
 messaging data. The units include a simple handset as well more telephone units are interconnected by said one or more
 as a speaker for paging, intercom type communications and networks to provide three or more participants of a confer
 speaker phone applications. Typically the base unit also ence call, at least one of the telephone units receiving and
 includes a microphone. The handset is a typical handset sending data packets including voice data packets. A display
 providing a speaker and a microphone.                            2O is connected to the at least one of the telephone units or
    Telephone systems using distributed networks. Such as forms a part of the at least one of the telephone units. A
 local area networks (LANs) are also generally known. With units,    device for monitoring calls, of at least one of the telephone
 these systems, a distributed network is provided. Such as call participant provides data to the display for showing conference
 carrier sense multiple access/collision detection (CSMA/ 25 ticipating in the information           as to the telephone units par
 CD, see IEEE 802.3) generally known as Ethernet. A tele ated with the display for selectingAn
                                                                                        conference  call.
                                                                                                           any
                                                                                                              input device is associ
                                                                                                               of the telephone units
 phone network system is provided with a central box having from the conference call participant information               and drop
 line cards connected to the distributed network as well as
 network devices connected to the network. The network               ping  the  selected  telephone unit  from  the conference call.
                                                                        Several    of the  three or  more   telephone
 devices include network telephones with, for example, a 30 conference call may be network telephone devices that       units of  the
 base unit with a speaker and a microphone and a handset receive and send data packets including voice data packets.
 (with a speaker and a microphone). Data packets are sent        The network telephone units may be connected to a tele
 over the network between network devices. A network
                                                                 phone
 control processor or network call processor (NCP) may be including      line network interface for receiving data packets
 used to monitor and control the access to the public tele 35 units frompackets     with telephone voice data. The telephone
 phone network. Features specific to the user may be estab connected to the others bycall
                                                                             the conference
                                                                                              a
                                                                                                  may include a telephone unit
                                                                                                public  telephone network. The
 lished with the NCP.
    Digital PBX systems and telephone systems using dis telephone network to establish one or more linetoconnections
                                                                 telephone  line network  interface  is connected    the public
 tributed networks are known which allow the users to            to one or more telephone units to form a branch exchange.
 provide a conference call. The conference call may be a The display may be provided as part of at least one of the
 between users of the telephone system or between a user of telephone units receiving and sending data packets. The
 the telephone system and telephone units connected through input device may be provided as part of the at least one of
 outside lines. Even when the conference call is set up using the telephone units receiving and sending data packets. The
 the telephone system, such past systems do not allow users input device may then include a button positioned adjacent
 to selectively drop participants in the conference call. In as to the display with a portion of the display indicating the
 Such systems, the originator of the conference call may at function of the button. As a further feature, or as an
 best be able to drop the last participant that was added. alternative, the display may be associated with a computer
 Further, people do not know who all of the memners are, on network device. The input device is provided as part of the
 the call at any given moment. Conference call members tend computer network device. The input device may include
 to constantly ask who is on the call or is not etc. Some so web browser software operating on the computer network
 conference call systems notify the members that some user device and accessing information from the device for moni
 has just joined or departed a conference. However, this still toring calls for showing conference call participant infor
 makes it difficult to keep a track of the total member list.    mation as to the telephone units participating in the confer
                                                                 ence call and for sending a command to drop any selected
             SUMMARY AND OBJECTS OF THE                       55 telephone unit from the conference call.
                          INVENTION                                 The device for monitoring calls may be a common system
                                                                 unit connected to the telephone network or it may be
    It is an object of the invention to provide three or more associated with each network telephone device. A network
 telephone units interconnected by one or more networks call processor connected to the network may monitor data
 e.g., local area network (LAN), wide area network, etc., to 60 traffic to and from all of the plurality of network telephones.
 provide a conference call, wherein at least one of the This call processor can establish a conference call including
 telephone units receives and sends data packets including generating a list of all participants and forwarding the list to
 Voice data packets and wherein at least one telephone unit one or more of the network telephones in the list of all
 includes or is associated with a display showing information participants. The telephones may then send data packets as
 as to the other telephone units connected, e.g., telephone 65 multicast or unicast transmissions to the network. The
 numbers, and includes or is associated with a button e.g., a transmissions may be addressed based on the list of all
 physical button or soft key associated with a display or participants. The conference call participants in the list of
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 10 of 16 PageID #: 183


                                                      US 7,085,364 B1
                             3                                                                4
  participants may include telephone units outside of the          accompanying drawings and descriptive matter in which
  distributed network, connected to the distributed network        preferred embodiments of the invention are illustrated.
  via a line interface. These multicast or unicast transmissions
 may include transmissions addressed to the line interface.              BRIEF DESCRIPTION OF THE DRAWINGS
    The network call processor connected to the network for
 monitoring data traffic to and from the network telephones In the drawings:
 may also establish a conference call by generating an                FIG. 1 is a system diagram showing system features
 identifier associated with the conference call and forwarding according to an embodiment of the invention;
 the identifier to one or more of the network telephones in the 10 FIG. 2 is a diagram showing features of a network
 list of all participants. The network telephones in the list of telephone device according to the invention;
 all participants may then send multicast transmissions to the        FIG. 3 is a cutaway top view showing a display with
 network address based on the identifier associated with the
 conference call. Telephone units outside of the distributed droppingdisplay
                                                                   softkey
                                                                              a
                                                                                     regions for keys of a network telephone for
                                                                                 conference call participant;
 network receive and send voice data via the line interface.
    According to a further aspect of the invention, a telephone
                                                                15    FIG.  4 is  a view showing   an example of a web browser
 conference call process is provided including providing a software interface used at a network device;
 network, providing at least three telecommunication devices          FIG. 5A is a first part of a flow diagram describing
 connected to the network (e.g., directly as network tele          features  according to a process of the invention; and
 phone devices or indirectly via a line card and public               FIG. 5B is a second part of the flow diagram of FIG. 5A
 telephone network). At least one of the three telecommuni according to a process of the invention.
 cation devices receives and sends packets including voice
 data. The received packets from the other participants are                   DESCRIPTION OF THE PREFERRED
 combined by the telecommunication device for concurrent                                  EMBODIMENTS
 telephonic communications and for producing an audio 25
 signal with the combined packets. The process forms a list           Referring to the drawings in particular, the invention
 of telecommunication devices participating in the concur comprises a network telephone system generally designated
 rent telephonic communications and displays all or a part of 1. The system includes a network call processor (NCP) 4.
 the list at one of the at least three telecommunication           The NCP 4 monitors the network system 1.
 devices. A user of the packet based telecommunication 30 The telephone network system 1 is provided as part of a
 device removes one or more of the devices participating in digital distributed network (e.g., a LAN) Ethernet network
 the concurrent telephonic communications by selecting the 18. The network 18 comprises network media (such as
 one or more of the devices participating in the concurrent twisted pair of various types and categories of cable, infra
 telephonic communications from the list.                          red, wireless etc.). The preferred embodiment includes
    A preferred embodiment uses a network telephone system 35 twisted pair wiring connected via a hub/router or switch. The
 with a distributed network, a network call processor with network 1 may be established using network software (NO
 data storage forming a central database with the call pro VELL, WINDOWS NT, etc.) run on a server for commu
 cessor connected to the network. A telephone line network nication between computers 42, network telephones and
 interface is connected to a telephone line and is connected to other network devices and 46 (a network device in the form
 the network for receiving packets from the network and 40 of a local pager 46, which may be connected to the Ethernet
 sending packets to the network including packets with network 18 to send a radio frequency signal to a local pager
 telephone voice data. A plurality of network telephones are device 48). The public telephone network 30 is connected to
 part of the network telephone system with each network a cellular network 50 which communicates with mobile
 telephone connected to the network. Each network tele phones such as mobile phone 52, other phones connected to
 phone has a display for displaying information and each 45 the public network and other services (e.g., wide area
 network telephone is capable of engaging in a concurrent paging). Although specific examples are given, various
 telephonic communication. Each network telephone has an connections may be made to local area networks and to wide
  I/O device in electrical communication with the network for      area networks.
 receiving and sending packets to other devices connected to         A preferred embodiment of the invention provides a
 the network, an input device for producing audio signals 50 network telephone system with the network telephone
 from an input local to the device and a packet controller in devices 20 (e.g. telephones 20 for users at a facility). In the
 electrical communication with the I/O device and the input embodiment shown the NCP 4 is provided in a network
 device. The packet controller generates packets from the telephone system chassis 10 that provides power through
 audio signals received by the input device, forwards the power bus 12 and provides a network connection through
 generated packets to the I/O device for transmission to the 55 the Ethernet network bus 14. The NCP4 is connected to the
 network and combines packets received by the I/O device to Ethernet network bus 14 and the power bus 12. The system
 produce an audio signal with the combined packets and the network card 16 provides a connection 17 from the NCP 4
 audio signals from the local input device. Each network to the Ethernet network 18. The network telephones 20 are
 telephone displays information on the display corresponding connected to the Ethernet network 18 as network devices. A
 to an identity of a source of packets combined whereby the 60 line card 22 is also connected to the power bus 12 and
 identity may be selected for dropping a source form a Ethernet bus 14. The line card 22 is connected to a public
 concurrent telephonic communication.                              switched telephone network (PSTN or other data network)
    The various features of novelty which characterize the 30 as shown at 24. Other line cards such as a digital line card
 invention are pointed out with particularity in the claims 26 may also be provided (e.g., a T1 line). The digital line
 annexed to and forming a part of this disclosure. For a better 65 card 26 is also connected to the public phone network or
 understanding of the invention, its operating advantages and other data network 30 as shown at 28. The digital line card
 specific objects attained by its uses, reference is made to the 26 is connected to bus 14 and may also be directly connected
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 11 of 16 PageID #: 184


                                                    US 7,085,364 B1
                               5                                                                  6
 to the Ethernet network 18 as shown at 32. The NCP 4 may         18 and packets are sent and forwarded to the computer
 also be connected directly to the Ethernet network as shown      system 42 via the packet controller 60 from the network 18
 at 38.                                                           or packets are forwarded from the computer system 42 via
    The particular arrangement shown is not critical to the the packet controller 60 to the network 18. A memory 70 is
 system of the invention. Any of the units shown in the provided whereby packets can be queued as shown at 72 for
 network telephone system chassis 10 may be provided play out, for mixing or some other memory functions can be
 separately or in combination with other network devices. provided. A local input 74 in the form of a microphone is
 The invention also applies to a single unit 20 having the provided in the handset with an analog to digital converter
 capabilities noted herein and sending voice data packets device 76 providing the local input to the packet controller
 over the internet to other telephone units to establish a 10 60. At the output side a digital to analog converter device 78
 conference call. In the embodiment shown in FIG. 1 system converts packets to audio signals which are amplified at
 data storage 40 is provided connected to the NCP 4. The amplifier80 and produced at local output (speaker) 82. The
 system data storage 40 can also be provided separately, for network telephone 20 includes input/output control circuitry
 example in a network server or in combination with other 84 for controlling a display 94 as well as for receiving input
 network devices. The system 1 may also be decentralized 15 signals from keys such as keys 86, 88 and 90 via connection
 with intelligent telephone units connected by a network circuitry 92 (see FIG. 3). The display 94 is preferably a
 (essentially moving call processor functions to the network liquid crystal display (LCD). The packet controller 60 may
 telephone devices 20).                                           include a timer, a digital signal processor (DSP), a processor
    With a system having a main control processor 4, this (e.g., an ARM processor), a direct memory access (DMA)
 NCP 4 may be connected to multiple data storage facilities. controller, control circuitry, an address table, and a memory
 The NCP 4 may be a stand alone unit or it may be in the controller coupled to each other by a signal bus. The DSP is
 same chassis as cards 16, 26 and 22, or NCP 4 may be in electrical communication with the A/D device 78 via a
 provided with the server.                                        signal path and in electrical communication with D/A device
    The NCP 4 monitors telephone network traffic and other 78 via a signal path. The memory controller is in electrical
 network features. The processor cooperates to establish 25 communication with the memory 70 by signal lines. The
 conference calls and establishes system user data. The DMA controller is in electrical communication with the
 processor may also monitor other network functions or may MAC devices 62, 66 by signal lines. The address table stores
 receive packets from other network control devices relating addresses that are of importance to the network telephone
 to network functions such as status, errors, faults etc. The     20. Examples of such addresses include the address of the
 NCP 4 may use the direct connection 38 to the Ethernet 30 other network telephones 20, or network devices (e.g., line
 network 18 via a MAC device and physical interface. As an card 26, 22 connecting to telephones via outside lines or
 alternative to the embodiment shown in FIG. 1, the NCP 4         internet connection IP address) for a call or a conference
 may be directly connected to the server which itself is call, or an identifier for a conference call, and a general
 connected to the Ethernet network 18. The data storage 40 broadcast address.
 may be connected to the server.                               35    In operation, a network is established with a processor 4
    FIG. 2 shows features of a network telephone unit 20. The monitoring some network system attributes and receiving
 network telephone 20 includes a packet controller 60 for signals from other network devices. Calls are initiated by
 receiving packets, sending packets and forwarding packets users at the user telephone network devices 20 under the
 received from the network 1 to an associated network device      control of the NCP 4. The NCP 4 establishes a user database
 42, when the packet is addressed to the associated device 42. 40 with system memory or system data storage facility 40 as
 The device 20 may be used such that multiple collision indicated at 89 in FIG. 4. The data can include system user
 domains may be provided. Two different collision domains preferences such as the allocation of actuation key functions
 (using CSMA/CD) are established in the example, one at the on the user's network telephone unit 20. The database may
 side of the computer system 42 and one at the network 1 (this include other preferences such as ring tones, speaker phone
 is explained in application Ser. Nos. 09/204,102: 09/203, 45 use, message preferences and other features. The data par
 542; and 09/204,107, which are hereby incorporated by ticularly includes names, addresses and associated telephone
 reference). The network telephones may be provided as numbers or other connection data including numbers or
 described in U.S. application Ser. No. 09/204,102; and/or addresses.
 U.S. application Ser. No. 09/203.542; and/or U.S. applica           The units 20 function like an ordinary PBX type tele
 tion Ser. No. 09/204,107. The network device may also be 50 phone. A telephone call from the outside telephone line is
 a remote device connected to the NCP4 and other telephone either sent directly to the unit 20 or it is sent to the unit 20
 units. For conference calls, the members may be connected via another network device acting as an operator (this is
 over one or more network (e.g., more than one Ethernet either with human intervention oran automatic system). The
 collision domain) including connections by public telephone NCP 4 monitors and controls voice packets and sends
 lines and the Internet (e.g., conference members across one 55 control packets to the network telephone units 20. When the
 or more IP router).                                              user takes the handset into an off hook condition, the packet
    According to a preferred embodiment of the invention, controller 22 begins receiving voice packets which are
 the network telephone 20 includes a base unit with handset. queued in a queue 72 and are sent to the speaker 82 after
 Basic function keys (numbers etc.) may be provided (e.g/, on digital signal processing, at the DSP, if necessary. The signal
 the handset or on the base). The network telephone 20 has 60 is converted at D/A converter device 78, it is amplified at the
 a connection to the Ethernet type network 18 discussed amp 80 before being output at the speaker 82. The device 20
 above. Each unit 20 has at least a MAC device 62 connecting also provides the ability to engage in a conference call by
 the unit via a physical interface 64 to the network 18. combining received packets. A page or further input may
 Preferably another MAC device 66 is provided connecting also be combined from another device connected to the local
 the unit via physical interface 68 to an associated network 65 telephone network 10.
 device 42. Such as a network interface card of a computer           The NCP 4 maintains state information for all devices
 system 42. Packets are sent and received over the network (network telephones and interface devices cards connected
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 12 of 16 PageID #: 185


                                                     US 7,085,364 B1
                                  7                                                                8
 to PCs attached to the network) in the telephone network. 89 and associated buttons 88 for making selections and for
 When a call is made from a network telephone 20, each digit control of the content of the display. Pressing button 88
 that is pressed is sent to the NCP. The NCP collects the digits under “select can be used to open further a display screen
 and, using an internal dial plan, determines how to route the (a window) whereby further actions may be taken such as
 call (internal call, external call, etc.). In addition, the NCP 4 dropping the participant from the conference participants.
 may be used to record the dialed number and store it in a The system may allow other actions such as dropping two
 database in storage 96 where it can be accessed later via the participants to form a separate call or droping three partici
 phone's LCD 94 or via the Web Based interface 100.                  pants from the conference participants wherein these three
    The user of the network telephone device 20 can engage participants form a further conference call.
 in a conference call (i.e., a conversation with users of two or 10 The ability to drop any of the conference participants is
 more other telephone sets connected to the network 1). The only limited in situations where the conference call is
 other telephone sets may be network telephone devices 20 in initiated at a telephone set outside of the telephone network
 the telephone network system 1. The other telephone sets system 1, in which case conference participants in the
 may also be remote telephone sets connected to the tele already established conference call cannot be dropped by the
 phone network system 1 via a line card 22 or some other 15 user of the telephone unit 20. However, where a conference
 connection to another network (e.g., the public phone net call is originated by a telephone set outside of the telephone
 work, a wireless network, the internet, etc). From audio network system 1, the user of the telephone unit 20, or even
 signals produced by the user, the network telephone device Some other network device 42 can be given rights to drop
 20 generates packets including voice data. The network one or more of the participants which are part of the
 telephone device 20 then transmits the generated packets to telephone network system 1. In such a case a signal may be
 the network 12.                                                     sent to the network call processor 4 to disconnect one or
    In one embodiment, each telephone set involved in the more of the telephone units 20 (e.g., by dropping the unit
 conference call receives a list of all participants at the start from the list of participants) from the conference call con
 of the conference call. This list may be generated by the NCP nected to an outside line by a line card 22.
 4. This list of participants can be generated prior to the start 25 In another embodiment according to the invention, at the
 of the conference call and can change as participants are start of the conference call, each telephone set receives an
 added or dropped. The network telephone device 20 gener identifier associated with the conference call. This identifier
 ates a unicast packet for each other telephone set on the list can be generated prior to the start of the conference call by
 of participants. For example, when the network telephone the NCP4 and can change during the conference call (when
 device 20 is engaged in a conference call with two other 30 participants change or for other reasons). The network
 participants, the network telephone device 20 generates two telephone device 20 generates multi-cast packets that
 unicast packets having the same voice data and the network include the identifier associated with the conference call. In
 telephone device 20 as the source address. The destination each multi-cast packet, the network telephone device 20 is
 address in one of the two unicast packets is the address of the source address and the identifier can be the destination
 one of the two other telephone sets, and the destination 35 address.
 address in the second unicast packet is the other of the two          The network telephone device 20 combines only those
 other telephone sets. The address may be the line card 22 packets from telephone sets known to be engaged in the
 (for connection via an outside line to a remote telephone conference call. For unicast packets, the source address of
 set). Several of the conference call participants may be the received packets can be compared against the list of
 remote telephone sets connected to the telephone network 40 participants. For multi-cast packets, the identifier can indi
 system 1 via a line card 22 or some other connection Such cate whether the packet came from a participant of the
 as digital line card 26.                                            conference call.
    When the network call processor 4 forwards the list of             According to this further embodiment, a line card 22, or
 conference call participants to a network telephone device other connection to outside networks, such as digital line
 20, the network telephone device 20 (or other connected 45 card 26, also prepares multicast packets with the identifier.
 network device 42) uses the list for information for a display This can indicate that the packet comes from a participant of
 as shown in FIG. 3. If participants drop out of the conference the conference call. The NCP 4 may selectively be used to
 call, the NCP 4 updates the list such that the display 94 can provide a list of participants to any network device Such as
 be updated. Depending upon the system settings a user of the network telephone unit 20 or even computer 42 whereby the
 network telephone device 20 can drop one or more of the 50 user of the network device can select participants and then
 conference participants. Further, control of the ability to drop participants of the conference call.
 drop or add participants can be selected and even changed             In both of the embodiments noted above, when the
 during a conference call. For example, extension 101 can network telephone device 20 receives a packet, the network
 initiate the call and include two other participants from the telephone device 20 determines that the packet came from a
 telephone network system 1 and two other participants using 55 participant in the conference call, produces audio signals
 outside lines connected to one or more line card 22. The user       corresponding to the Voice data in the packet, and outputs
 at extension 101 uses the conference feature to select the          the audio signals to the handset (or speaker). When multiple
 outside lines, make the connection as well as to select the         packets arrive at a telephone set from different sources, that
 other extensions to make the connection and join the parties telephone set combines the received packets and outputs
 in a conference call. The control of the other telephone sets, 60 audio signals corresponding to the Voice data of the com
 which are participating, may Subsequently be given to bination. The network telephone device 20 can combine
 extension 127. Participant 127 may then drop extension 101 packets received from other telephone sets with packets
 or drop one of the participants from the outside lines or generated by the network telephone device 20 from locally
 otherwise have control of participants (other participants received audio signals (i.e., from the local input 74).
 may be joined).                                                  65   To produce the combination, the network telephone
    Various options may be provided. The display 94 pro device 20 can combine the voice data of the received packets
 vided on the telephone unit 20 preferably includes soft keys or select for processing (i.e., producing audio signals from
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 13 of 16 PageID #: 186


                                                     US 7,085,364 B1
                                 9                                                              10
 the Voice data packets) one or more of the packets according oriented modeling tool for the call processing/control sys
 to some predetermined criteria. One criterion can be to tem. The external conference call participants may also be
 process the packet with the Voice data having the highest managed using caller ID information, IP address information
 volume (i.e., loudest). The telephone device 20 can discard or stored numbers from past calls made (and IP addresses
 or forward unused voice data packets. The telephone device from past connections made via IP routers).
 20 can also combine voice data packets along with Sound             Other ways of providing a conference drop include using
 data which can be heard only by the user of the telephone Voice recognition whereby a user can e.g., say drop 7677
 device 20. This can be for example a tone to indicate that and the system will translate this information into a signal
 another call is come in or it may be a synthetic voice that triggers the NCP to initiate the process of dropping
 announcing the addition or drop of a conference participant. 10 extension 7677 from the conference call.
 Other features include a timing tone to indicate elapsed time       Another alternative way of dropping uses touch sensitive
 or even an interrupting voice data packet from another screens on the phone or connected computer device whereby
 telephone device 20 (assistant device) or from an outside all conference call members are listed on the LCD 94 display
 SOUC.                                                            of the phone and instead of pressing a conference drop
    One or more members of the conference call may drop a 15 button, the user may select a member on the screen by a
 member of a conference call preferably by asking if the party simple touch of the screen. This will send the signal to the
 initiating the drop if they are sure they would like to drop the NCP to check if this person is allowed to drop this party and
 party they just selected to drop. If the user confirms, then the if so, drop him/her from the call and update the LCD display.
 party being dropped should ideally be notified just before          The conference drop feature may also be provided via a
 being dropped that they will be dropped in a few seconds. web interface (browser). The system supports a web browser
 These few seconds can be used up by the user confirming the called NetSet that gives administrators and user access to
 drop. All conference members using system features of the system settings and configurations. Advanced Conference
 invention see on their LCD 94 (or other display) the mem Drop is then tailored to work in tandem with this UI. One
 bers of the Conference call and/or users who are not a           can either be logged into the web interface as a user or as an
  member of the conference call. The LCD on the device 20 25 administrator. The behavior for both should be the same, for
 is preferably large enough to display, if not all, most of the     the most part. However the administrator should have some
 parties of the conference call. The list of users is tied with     extra permissions, for example, maybe to drop any member
 the user associated with the particular device 20 or outside       on the conference call. The user can only drop those whom
 line, or other connection. All members have a marker on the        they added or have a drop preivilidge value assigned to
 LCD beside their name and an extension identifier identi 30 assign drop rights.
 fying them as the members associated with the user of that            The procedure is as follows: The user logs into the web
 device. The identifier identifying is then used to indicate interface using a password and user ID. The user pulls up a
 permission to drop.                                                Conference Call List tab. This tab?window displays all
    The invention addresses the most annoying feature in members of the conference call in the order that they joined
 today’s conference call by allowing members to know who 35 or any order that should be able to be user configurable. All
 all of the members are on the call at any given moment. The members whom the browser has permission to drop are
 invention may be provided with a very large and advanced uniquely identified by a unique marker (either a star, or a
 GUI on the LCD or display of an associated computer. different colored font or larger font etc.). The user selects a
 Information is stored with the NCP about the ownership of member by clicking on a conference call member and
 conference call members, i.e. who added them to the call and 40 pushes a drop button on the web page. A new screen pops-up
 as a result who has permission to remove them from the call. with the presenting one of the following options:
 Information is stored about the sequence of the members               a. Are you sure you want to drop this member?
 who joined a conference call. Information is maintained              b. ERROR! “Not Allowed to drop this member.
 with regard to the order in which each member has entered             When a user confirms according to option (a) that yes,
 the conference call. This facilitates the system prioritization 45 they intend to drop that member from the call, a second
 of the members if required. This is particularly beneficial in window pops-up prompting the user the following options.
 a situation where there are limited resources when calling            A. Notify member that he will be dropped?
 over a bridge into a conference call and there are only a             B. Play audible beep warning to everyone to notify them
 specified number of resources (ports) to dial into. In Such a that someone has exited the conference call as a result of
 situation the call originator may wish to drop a party who's 50 being dropped.
 been on the call for a long time and introduce a more                 Update display (e.g., the LCDs 94) on ALL the conference
 important member to the conference call. Maintaining the call members phones by removing the user who just got
 sequential order of conference call members joining is dropped from the list.
 beneficial when a blind drop is made (as in prior art                 An example of the web page preferably lists all members
 telephone systems) or where the LIFO (Last In First Out) 55 in the conference call. The users tab may be a Conference
 scheme is used to drop members. The order and identity as Call Users’ tab listing all members just as they are shown
 well as other information may be used for dynamic call here in our current existing web interface for the NBX
 conference management.                                             system.
    The user does not have to enter his/her user profile (such        As shown in FIG. 4 the NCP 4 web browser Software
 as their name, number, phone's MAC address etc.). The 60 interface 100 (e.g., NETSCAPE or MICROSOFT
 system handles this automatically once the member joins the EXPLORER) is established on at least one network device
 conference call. For callers that are internal, the system has 42. The browser software 100 provides access with the
 all the pertinent information to display anything ranging network device 42 by entering the NCP/database location in
 from the user phone's MAC address, the phone extension, the browser location window or “go to window. This
 the full name of the user and any other relevant information. 65 address is established with respect to the NCP4 and the data
 This is possible when implementing the system using a storage. The browser 100 then accesses the web pages (e.g.
 UML (Unified Modeling Language) based real-time object HTML pages) 91 set up on the system (saved in the central
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 14 of 16 PageID #: 187


                                                     US 7,085,364 B1
                              11                                                                12
 database on storage 40). Some of the content is provided        where a party is dropped. Preferably some information is
 with the system while other data is entered into the system     provided to indicate that someone has exited the conference
 after installation. Upon accessing the web pages, the user      call. This may simply be via the display 94 or computer
 can then enter preferences, enter data, revise data which is    interface (other wireless or other interface) thereby an
 provided and revise old data as shown at 95. This allows the    indication is provided visually that someone has left the
 user to add names, telephone numbers, addresses and other       conference call. Of course an audio signal may also be
 information. The web browser software interface 100 can         provided including a voice synthesized Voice indicating the
 receive a list 93 of conference call participants. The user can name of the person who has left the conference call. The
 then use the interface to select a conference call participant process proceeds at 546 where it is considered whether the
 and then drop the selected participant. In FIG. 4, the web 10 number of parties in the present call are greater than two
 browser interface screen is shown with “User Configura (does a conference call still exist?). If a conference call does
 tion' written on the tab of the window, in the case of not exist the call proceeds at 548 back to a point to point call.
 Advanced Conference Drop, there would be a similar tab At 550 it is considered whether less than two parties are on
 with a label saying “Conference Call Members’.                  the call. In Such case the call is broken down as indicated at
   FIGS. 5a and 5b show a flow chart of a conference call 15 552. If sufficient members of a conference call still exist, the
 setup with advanced conference drop according to the        conference call continues an a list of users in the conference
 invention. In this example U1, U2 and U3 are either other          is updated by System software Such as operated through the
 telephone units 20 in the system or are parties reached            NCP such that the users of the system have displays which
 through outside lines through one of the line cards. But other     reflect the most up to date participants as indicated at 554.
 connections are possible. Further, obviously either party             The invention provides various possibilities with regards
 could initiate a conference call and various combinations are      to a system that provides all traditional features of a PBX
 possible generally following the procedure shown in 5a and system as well as the potential for interconnections includ
 Sb.                                                                ing sending Voice packets over IP routers for connection to
    The conference call is initiated at 500 with U1 dialing U2. remote users of a telephone device 20 or a similar device.
 U2 answers at 502. At step 504 U1 and U2 are in a point to 25 Various different possibilities of conference calls with users
 point call. Either party may then press the conference button at a location of the NCP as well as users connected to the
 or send a code representing pressing the conference button NCP through various sources are possible. The invention
 on one of the units 20. At 508 U2 enters the extension of the      does contemplate conference calls primarily using the inter
 party to be conferenced in or some other address or outside connected devices 20 wherein if all conference users are
 line phone number to establish the conference call. The 30 external to the system (the last link through a line card to a
 process can consider whether the conference is to be a blind user 20 is disconnected), the conference call would end,
 or a screened conference at step 510. In the case of a unless an appropriate substitute control facility is provided.
 screened conference at 511 all parties are still in conference        While specific embodiments of the invention have been
 while the originator (person originating the conference call) shown and described in detail to illustrate the application of
 is hearing a ring from the extension number that is trying to 35 the principles of the invention, it will be understood that the
 be conferenced in. This is indicated at step 512. Of course invention may be embodied otherwise without departing
 if the party does not answer at 520 the caller however goes from Such principles.
 to a machine or Voice mail or some other type of coverage             What is claimed is:
 at 522 and the originator U2 decides either to leave a                1. A conference call telephone system, comprising:
 message or disconnect at 524.                                   40    one or more network;
    For the party answers as indicated at 514 the originator           three or more telephone units interconnected by said one
 hits the conference button again Such that all parties join the          or more network to provide three or more participants
 conference call as indicated at 516. Parties U1, U2, and U3              of a conference call, at least one of said telephone units
 are all in conference as indicated at 518. In the case of a              receiving and sending data packets including voice data
 blind conference as indicated at 530 the originator U2 hits 45           packets;
 “conference again as indicated at 532. Again it is consid             a display connected to at least one of said telephone units
 ered whether the party answers or not at 534 and a confer                or forming a part of at least one of said telephone units:
 ence is established at 518.                                           a device for monitoring calls of at least one of said
    During the course of the call a user (user U1, U2, U3 . .             telephone units to provide data to said display for
 . Un) may attempt to make a conference drop. This is 50                  showing conference call participant information as to
 accomplished by scrolling through a list either on the LCD               the telephone units participating in the conference call;
 94 or on an associated computer, the list comprising infor            an input device associated with said display for selecting
 mation as to the conference call members. The information                any of the telephone units from the conference call
 may obviously be simple numbers but may also be names                    participant information and dropping the selected tele
 depending upon the information collected as to the particular 55         phone unit from the conference call.
 connection. At step 538 it is considered whether the user has         2. A conference call telephone system according to claim
 permission to drop the particular member. The connections          1, wherein at least two of said three or more telephone units
 table established by the NCP is then queried to see if the receive and send data packets including voice data packets.
 particular person has ownership rights or conference control          3. A conference call telephone system according to claim
 rights of the particular member for which a drop is 60 1, further comprising a telephone line network interface,
 requested. Based on the software established or even the said one or more network including a first network con
 limitations of a particular user (not having a display or an nected to said at least one of said telephone units receiving
 interface for making the conference drop) the drop is denied and sending data packets and connected to said telephone
 at 540 and as shown at step 542 the users are all still in the line network interface for receiving data packets including
 conference call.                                                65 packets with telephone voice data, said one or more network
    If a particular user that requests a conference drop has including a public telephone network, said telephone line
 rights to do this, the process proceeds as indicated at 544 network interface being connected to said public telephone
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 15 of 16 PageID #: 188


                                                     US 7,085,364 B1
                              13                                                                  14
  network to establish one or more line connections to one or       Sor establishing a conference call including generating an
 more telephone units to form a branch exchange.                    identifier associated with the conference call and forwarding
    4. A conference call telephone system according to claim        the identifier to one or more of said plurality of network
 1, wherein said display is provided as part of at least one of     telephones in said list of all participants for sending multi
 said telephone units receiving and sending data packets and cast transmissions to the network address based on said
 said input device is provided as part of at least one of said identifier associated with the conference call.
 telephone units receiving and sending data packets.                   13. A conference call telephone system according to claim
    5. A conference call telephone system according to claim        12, wherein the conference call participants of said identifier
 4, wherein said input device includes a button positioned associated with the conference call includes telephone units
 adjacent to said display and a portion of said display 10 outside of said distributed network, connected to said dis
 indicating the function of said button.                            tributed network via said line interface, unicast transmis
    6. A conference call telephone system according to claim sions including transmissions addressing said line network
 1, wherein said display is a display associated with a interface.
 computer network device, and said input device is provided            14. A conference call telephone system according to claim
 as part of said computer network device.                        15 8, wherein said display is provided as part of at least one of
    7. A conference call telephone system according to claim said network telephones receiving and sending data packets
 6, wherein said input device includes web browser software and said input device is provided as part of at least one of
 operating on said computer network device.                         said network telephones receiving and sending data packets,
    8. A network telephone system comprising:                       wherein said input device includes a button positioned
    a distributed network;                                          adjacent to said display and a portion of said display
    a plurality of network telephones, each network telephone indicating the function of said button.
       being connected to said distributed network, each net           15. A conference call telephone system according to claim
       work telephone having a display for displaying infor 8, wherein said display is a display associated with a
       mation, each network telephone being capable of computer network device, and said input device is provided
       engaging in a concurrent telephonic communication 25 as part of said computer network device and includes web
       with two or more of said plurality of network tele browser Software operating on said computer network
       phones to establish a conference call, each of said device.
       plurality of network telephones including an I/O device         16. A telephone conference call process, comprising the
       in electrical communication with the network for             steps  of
       receiving and sending packets to other devices con 30 providing             a network;
       nected to the network and a packet controller in elec
       trical communication with the I/O device and the input          providing   at least three telecommunication devices con
       device, the packet controller combining packets                    nected to the network;
       received by the I/O device:                                     receiving and sending packets from each device to other
    a display connected to or associated with at least one of 35          devices connected to the network by one of a network
       said plurality of network telephones:                              connection associated with the telecommunication
    an input device connected to or associated with said                  device and an interface to the network via a public
       display, said display displaying all or part of a list on          network or the internet;
       said display corresponding to an identity of each Source        combining packets received by the telecommunication
       of packets combined whereby an identity may be 40                  devices for a concurrent telephonic communications
       Selected for dropping a source, thereby dropping a                 and producing an audio signal with the combined
       participant from the conference call.                              packets;
    9. A conference call telephone system according to claim           forming a list of telecommunication devices participating
 8, further comprising a telephone line network interface for             in the concurrent telephonic communications and dis
 receiving data packets including packets with telephone 45               playing all or a part of the list at one of said at least
 Voice data and being connected to a public telephone net                 three telecommunication devices; and
 work to establish one or more line connections to one or              removing one or more of the devices participating in the
 more telephone units to form a branch exchange.                          concurrent telephonic communications by selecting the
    10. A conference call telephone system according to claim             one or more of the devices participating in the concur
 9, further comprising a network call processor connected to 50           rent telephonic communications from said list.
 said distributed network for monitoring data traffic to and           17. A network telephone system comprising:
 from said plurality of network telephones, said call proces           a distributed network;
 Sor establishing a conference call including generating a list
 of all participants and forwarding the list to one or more of         a  network call processor with data storage forming a
 said plurality of network telephones in said list of all 55              central database, said call processor being connected to
 participants for sending multicast or unicast transmissions to           said distributed network;
 the network address based on said list of all participants.           a telephone line network interface connected to a tele
    11. A conference call telephone system according to claim             phone line and connected to said distributed network
 10, wherein the conference call participants in said list of             for receiving packets from said distributed network and
 participants include telephone units outside of said distrib 60          sending packets to said distributed network including
 uted network, connected to said distributed network via said             packets with telephone voice data;
 line interface, said multicast or unicast transmissions includ        a plurality of network telephones, each network telephone
 ing transmissions addressed to said line network interface.              being connected to said distributed network, each net
    12. A conference call telephone system according to claim             work telephone having a display for displaying infor
 10, further comprising a network call processor connected to 65          mation, each network telephone being capable of
 said distribution network for monitoring data traffic to and             engaging in a concurrent telephonic communication
 from said plurality of network telephones, said call proces              and including:
Case 2:23-cv-00444-JRG Document 1-11 Filed 09/27/23 Page 16 of 16 PageID #: 189


                                                  US 7,085,364 B1
                            15                                                                 16
   an I/O device in electrical communication with the dis-           may be selected for dropping a source form a concur
     tributed network for receiving and sending packets to           rent telephonic communication.
     other devices connected to the network;                       18. A telephone system according to claim 17, wherein:
   an input device for producing audio signals from an input       said identity is different than an identity of a respective
     local to the device;                                      5     said network phone.
   a packet controller in electrical communication with the     19. A conference call telephone system according to claim
      I/O device and the input device, the packet controller 8, wherein:
     generating packets from the audio signals received by      said identity is different than an identity of a respective
     the input device, forwarding the generated packets to         said network phone.
     the I/O device for transmission to the network com- 10 20. A telephone conference call system according to claim
     bining packets received by the I/O device and produc- 8, wherein:
     ing an audio signal with the combined packets and the      said removing includes selectively removing any one of
     audio signals from the local input device and display         said devices.
     information on a display corresponding to an identity of
     a source of packets combined whereby said identity                                k   .    .   .   .
